           Exhibit D




Case 16-21142   Doc# 2191-4   Filed 05/12/18   Page 1 of 4
                          UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF KANSAS
                                KANSAS CITY DIVISION

In re:                                  )
                                        )
JOHN Q. HAMMONS FALL 2006, LLC, et al., )                       Case No. 16-21142-11
                                        )
     Debtors.                           )                       (Jointly Administered)
                                        )

                   SCHEDULING ORDER FOR CONTESTED MATTER
                        RE: UBS APPLICATION DOC. #1966

         Upon motion of JD Holdings, LLC and for good cause shown, it is hereby ORDERED

that the following deadlines and schedule shall govern the contested matter arising from the

Application Of UBS Securities LLC, As Investment Banker And Financial Advisor To The

Debtors For Payment Of Transaction Fees And Related Relief, Doc. #1966, and JDH Holdings,

LLC’s Initial Objection To Application Of UBS Securities, LLC As Investment Banker And

Financial Advisor To The Debtors For Payment Of Transaction Fees And Related Relief, Doc.

#2077.

         1.    Interrogatories, requests for production of documents and electronically stored

information shall be served no later than thirty days after the date of this Scheduling Order.

Responsive non-privileged documents and electronically stored information shall be produced

within forty-five days after service of a request.

         2.    Fact depositions may begin at any time. Fact depositions must be completed no

later than ninety days before the hearing date set forth herein.

         3.    Disclosure of expert testimony under Fed. R. Civ. P. 26(a)(2) shall be made no

later than seventy-five days before the hearing date set forth herein. Those disclosures shall




                                                     1

               Case 16-21142        Doc# 2191-4          Filed 05/12/18   Page 2 of 4
include some date more than seven days but less than fifteen days after the disclosure on which

the expert will be available to be deposed.

       4.      Any motion for summary judgment or other dispositive motion shall be filed no

later than sixty days before the hearing date set forth herein. The processing of any summary

judgment motion shall otherwise be governed by LBR 7056.1.

       5.      Witness and exhibit lists shall be filed no later than thirty days before the hearing

date set forth herein. Within one week of filing such lists, the parties shall exchange exhibits.

The parties shall employ a system of exhibit numbering such that numbers are not duplicated.

       6.      The parties shall serve any deposition testimony designations no later than thirty

days before the hearing date set forth herein. The parties shall serve counter-designations and

objections to deposition testimony designations within eleven days of being served a deposition

testimony designation. The parties shall serve objections to counter-designations within five

business days of being served the counter-designations.

       7.      Any pretrial motion, including motions in limine, shall be filed and served no

later than thirty days prior to the hearing date set forth herein. A response to any such motion

shall be filed within eleven days after service of the motion. There shall be no reply.

       8.      A pretrial conference shall be held fifteen days prior to the hearing date set forth

herein. The Court will issue an order in advance of the pretrial conference identifying those

matters to be addressed at the pretrial conference.

       9.      This contested matter is set for hearing beginning ____________, 2018.

       10.     The applicable Federal Rules of Civil Procedure, Federal Rule of Bankruptcy

Procedures, and the LBR apply to discovery and scheduling in this contested matter and

otherwise unless modified by this Scheduling Order or other order of this Court.



                                                 2

               Case 16-21142       Doc# 2191-4        Filed 05/12/18   Page 3 of 4
       11.    This Scheduling Order may be modified only upon motion of a party to this

contested matter and for good cause shown.

       IT IS SO ORDERED.




Date                                             Robert D. Berger
                                                 United States Bankruptcy Judge




                                             3

             Case 16-21142       Doc# 2191-4     Filed 05/12/18   Page 4 of 4
